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                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION
                              __________________________


TODD COURSER,

               Plaintiff,

v.                                                            Case No. 1:16-CV-1108

KEITH ALLARD, et al.,                                         HON. GORDON J. QUIST

            Defendants.
_______________________/


                            ORDER FOLLOWING LIMITED REMAND

       On December 19, 2016, the Court entered an Order Regarding Voluntary Dismissal, which

addressed the effect of the amended complaint and the voluntary dismissal that Plaintiff filed within

minutes of each other. (ECF No. 127.) In particular, with respect to Defendant Krell, the Court said

that because Defendant Krell had filed a motion to dismiss or, in the alternative, for summary

judgment, Plaintiff’s voluntary dismissal was not effective as to Defendant Krell.            Further

concluding that Plaintiff’s voluntary dismissal must be deemed a motion for dismissal pursuant to

Rule 41(a)(2) as to Defendant Krell, the Court determined that dismissal with prejudice of Plaintiff’s

claims against Defendant Krell was a proper condition of dismissal. Thereafter, Plaintiff appealed

the December 19, 2016, Order regarding the dismissal of Defendant Krell.

       By Order issued on December 19, 2017, the Sixth Circuit issued a limited remand to this

Court to address why the December 19, 2016, Order failed to acknowledge that the amended

complaint dropped Defendant Krell. According to the Sixth Circuit, Plaintiff thought that the Court

simply overlooked that the amended complaint dropped Krell, while Krell argued that Plaintiff could

only drop Krell pursuant to Rule 21 or Rule 41, not Rule 15(a)(1). (ECF No. 141 at PageID.4890.)

The Sixth Circuit concluded that a limited remand for an explanation from this Court, rather than
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speculation by the Sixth Circuit panel as to this Court’s rationale, was the proper course of action.

(Id. at 4891.) The Court also notes the Sixth Circuit said that the Order was unclear as to whether

the dismissal with prejudice applied only to the Vincent Krell who was served and moved for

dismissal/summary judgment, or “to any and all Vincent Krells.” (Id. at PageID.4890 n.6.)

         The short answer is that the Court simply failed to consider that the amended complaint

dropped Defendant Krell, and it thus had no reason to consider whether an amendment as of right

pursuant to Rule 15(a)(1): (1) is a proper means of dropping a party, i.e., without an order; and (2)

if so, is effective as against a party who has previously filed a motion for summary judgment. As

to whether the dismissal was limited to the served Vincent Krell or as to all individuals named

Vincent Krell, the Court clarifies the dismissal with prejudice was limited to the Vincent Krell who

was served and moved for dismissal/summary judgment.

         Although the Court has now answered the questions the Sixth Circuit raised in its December

19, 2017, Order, the Court believes that it will further the interests of effective appellate review if

this Court answers the outstanding question in the first instance—whether Plaintiff’s Rule 15(a)(1)

amendment as of right was a procedurally valid means of dropping Defendant Krell. Because the

briefing on this issue appears to be within the scope of the remand, the Court will order the parties

to address the issue.

         Therefore, within fourteen (14) days of the date of this Order, the parties shall file briefs

addressing whether Plaintiff’s Rule 15(a)(1) amendment as of right was effective to drop Defendant

Krell.

         IT IS SO ORDERED.


Dated: January 5, 2018                                       /s/ Gordon J. Quist
                                                            GORDON J. QUIST
                                                       UNITED STATES DISTRICT JUDGE


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